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10                     IN THE UNITED STATES DISTRICT COURT FOR THE
11                               EASTERN DISTRICT OF CALIFORNIA
12
13   UNITED STATES OF AMERICA,       )                       CR. NO.   11-360-04-WBS
                    Plaintiff,       )
14        v.                         )                       (Related Case CR. NO. 11-491-EFB)
                                     )
15   STEVEN BRENT ETHRIDGE,          )                       MOTION TO DISMISS CERTAIN
                    Defendant.       )                       COUNTS IN 11-360-WBS AND
16   _______________________________ )                       (proposed) ORDER
17
18                                                 MOTION
19           HEREBY, the United States moves that this Court enter an
20   order, pursuant to Fed. R. Crim. Pro. 48(a), dismissing without
21   prejudice only the following counts in 11-360-WBS and only as to
22   defendant Steven Brent Ethridge:
23   INDICTMENT
24   Count         Offense                         Description
     1             18 USC 371                      Conspiracy (to commit bank fraud
25                                                    and possess stolen U.S. Mail)
     17            18 USC 1344(2)                  Bank Fraud
26   32            18 USC 1708                     Possession of Stolen U.S. Mail
27           Before Magistrate Brennan, via another charging document
28   (Information in CR 11-491-efb) and via plea agreement, defendant

     Motion to Dismiss felony charges and (proposed) Order                                       1
        Case 2:11-cr-00360-WBS Document 64 Filed 02/28/12 Page 2 of 2


 1   Ethridge was convicted (on 12/5/11) and sentenced (on 2/27/12) for
 2   misdemeanor bank larceny in violation of 18 USC 2113(b) and 2.
 3
 4   DATED: 2/27/2012                                    BENJAMIN WAGNER
                                                         U.S. Attorney
 5                                                            /s/Michelle Rodriguez
                                                         By   _____________________
 6                                                            MICHELLE RODRIGUEZ
                                                              Assistant U.S. Attorney
 7
                                                   ORDER
 8
            The United States' motion to dismiss without prejudice Counts
 9
     1, 17, and 32 of the Indictment                  -- only as to Ethridge -- in the
10
     above referenced case, CR No 11-360-WBS, is GRANTED.                  By this Order
11
     (dismissal of felony charges), there is no effect on the
12
     misdemeanor convictions against defendant Ethridge in Magistrate
13
     Court.
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     DATED:        February 27, 2012
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     Motion to Dismiss felony charges and (proposed) Order                               2
